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               EXHIBIT H
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From:                             D'Agostino, Victoria <victoria.dagostino@yale.edu>
Sent:                             Wednesday, January 22, 2020 3:26 PM
To:                               D'Agostino, Victoria
Subject:                          FW: Reappointment


From: Freedman, David
Sent: Friday, July 28, 2017 3:39 PM
To: Lee, Bandy <bandy.lee@yale.edu>
Cc: Ball, Samuel <samuel.ball@yale.edu>
Subject: Reappointment

Dr. Brandy Lee
123 York Street, #20E
New Haven, CT 06511

We are pleased to confirm your reappointment as Assistant Clinical Professor for the term of July 1, 2017 – June 30,
2020 in the Department of Psychiatry at Yale University.

Thank you for your continued contributions to the department.

Regards,
David Z. Freedman

Yale School of Medicine
Department of Psychiatry
Faculty Affairs Coordinator
300 George Street, Suite 901, Room 10
New Haven, CT 06520
Voice: (203) 785-7485
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